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10                              UNITED STATES DISTRICT

11                   FOR THE EASTERN DISTRICT OF CALIFORNIA

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13                                      CASE NO. 2:24-cv-01462-JAM-AC
     TARAS DWAYNE RICHARDSON,
14
                      Plaintiff,          ORDER TO DISMISS DEFENDANT SCOTT
15                                        DOE re: STIPULATION (ECF No. 9)
     v.
16

17 CONAGRA FOODS ENTERPRISE

18 SERVICES, INC., a Delaware
   corporation; CORPORATION
19 BRANDS, INC., a Delaware
   corporation; CONAGRA FOODS
20 PACKAGED FOODS, LLC, a
   Delaware limited liability
21 company,
             Defendants.
22

23

24        The Court has received and reviewed the Stipulation to Dismiss

25 Defendant     Scott    Doe    (“Stipulation”).    The    Court   GRANTS   the

26 Stipulation and dismisses Defendant Scott Doe with prejudice. Each

27 party to bear their own attorneys’ fees and costs.

28


                                        ORDER
     Case 2:24-cv-01462-JAM-AC Document 11 Filed 06/07/24 Page 2 of 2


 1       Furthermore, this action, including any counterclaims, cross-

 2 claims, and third party complaints is hereby DISMISSED as to all

 3 DOE or other fictitiously-named defendants.

 4 IT IS SO ORDERED.

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 6   Dated: June 06, 2024               /s/ John A. Mendez
                                        THE HONORABLE JOHN A. MENDEZ
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                                        SENIOR UNITED STATES DISTRICT JUDGE
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                                        ORDER
